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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN

MICHAEL MILES, Individually,              :
                                          :
            Plaintiff,                    :
v.                                        :
                                          :           Case No. 3:14-cv-14673
                                          :
SYBRA, LLC., a Michigan Limited Liability :
Company,                                  :
                                          :
                                          :
            Defendant.                    :
______________________________________/ :


                 COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF

         Plaintiff, MICHAEL MILES, Individually, (sometimes referred to as “Plaintiff”), hereby

sues the Defendant, SYBRA, LLC., a Michigan Limited Liability Company, (sometimes referred

to as “Defendant”), for Injunctive Relief, and attorney’s fees, litigation expenses, and costs

pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”).

                                             PARTIES

1.       Plaintiff, MICHAEL MILES, is an individual residing in FINDLAY, OH, in the County

         of Hancock.

2.       Defendant’s property, ARBY’S is located at 1331 24th Ave, Port Huron, MI 48060 in St.

         Clair County.

                                 JURISDICTION AND VENUE

3.       Count I is brought pursuant to the laws of the United States, therefore the Court has

         jurisdiction pursuant to 28 U.S.C. §1331. Count II utilizes the same core of operative

         fact, and is therefore subject to supplemental jurisdiction pursuant to 28 U.S.C. §1367.

4.       Venue is properly located in the Eastern District of Michigan because venue lies in the
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         judicial district of the property situs. The Defendant’s property is located in and does

         business within this judicial district.

5.       Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given original

         jurisdiction over actions which arise from the Defendant’s violations of Title III of the

         Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201

         and § 2202.

6.       Plaintiff, MICHAEL MILES is an Ohio resident, is sui juris, and qualifies as an

         individual with disabilities as defined by the ADA. Michael Miles is paraplegic and uses

         a wheelchair for mobility. MICHAEL MILES visits Port Huron and the surrounding

         area, including the St. Clair and Sanilac Counties, Michigan, for golf trips and family

         vacations several times annually. Michael Miles frequents many establishments in and

         around the city of Port Huron and has visited and been a customer at the Arby’s which

         forms the basis of this lawsuit no fewer than three times within the past one year and

         plans to return to the property to avail himself of the goods and services offered to the

         public at the property. The Plaintiff has encountered architectural barriers at the subject

         property. The barriers to access at the property have endangered his safety.

7.       Completely independent of the personal desire to have access to this place of public

         accommodation free of illegal barriers to access, Plaintiff also acts as a "tester" for the

         purpose of discovering, encountering, and engaging discrimination against the disabled in

         public accommodations. When acting as a "tester," Plaintiff employs a routine practice.

         Plaintiff personally visits the public accommodation; engages all of the barriers to access,

         or at least all of those that Plaintiff is able to access; and tests all of those barriers to

         access to determine whether and the extent to which they are illegal barriers to access;
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         proceeds with legal action to enjoin such discrimination; and subsequently returns to the

         premises to verify its compliance or non-compliance with the ADA and to otherwise use

         the public accommodation as members of the able-bodied community are able to do.

         Independent of other subsequent visits, Plaintiff also intends to visit the premises

         annually to verify its compliance or non-compliance with the ADA, and its maintenance

         of the accessible features of the premises. In this instance, Plaintiff, in Plaintiff’s

         individual capacity and as a “tester,” visited the Facility, encountered barriers to access at

         the Facility, and engaged and tested those barriers, suffered legal harm and legal injury,

         and will continue to suffer such harm and injury as a result of the illegal barriers to access

         and the ADA violations set forth herein.

8.       Defendant owns, leases, leases to, or operates a place of public accommodation as

         defined by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and

         36.104. Defendant is responsible for complying with the obligations of the ADA. The

         place of public accommodation that the Defendant owns, operates, leases or leases to is

         known as ARBY’S is located at 3961 24th Ave, Port Huron, MI 48060.

9.       MICHAEL MILES has a realistic, credible, existing and continuing threat of

         discrimination from the Defendant’s non-compliance with the ADA with respect to this

         property as described but not necessarily limited to the allegations in paragraph 11 of this

         complaint.   Plaintiff has reasonable grounds to believe that he will continue to be

         subjected to discrimination in violation of the ADA by the Defendant. MICHAEL

         MILES desires to visit ARBY’S not only to avail himself of the goods and services

         available at the property but to assure himself that this property is in compliance with the

         ADA so that she and others similarly situated will have full and equal enjoyment of the
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      property without fear of discrimination.

10.   The Defendant has discriminated against the individual Plaintiff by denying him access

      to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages

      and/or accommodations of the buildings, as prohibited by 42 U.S.C. § 12182 et seq.

11.   The Defendant has discriminated, and is continuing to discriminate, against the Plaintiff

      in violation of the ADA by failing to, inter alia, have accessible facilities by January 26,

      1992 (or January 26, 1993, if Defendant has 10 or fewer employees and gross receipts of

      $500,000 or less). A preliminary inspection of Arby’s has shown that violations exist.

      These violations include, but are not limited to:


Parking

      A. There is no signage marking designated accessible parking in violation of the ADA
         whose remedy is readily achievable.

      B. There are designated accessible parking spaces with no or insufficient adjacent access
         aisles in violation of the ADA whose remedy is readily achievable.

      C. Parking access aisles do not lead to an accessible route in violation of the ADA
         whose remedy is readily achievable.

      D. Accessible parking is located on a slope in excess of allowable range in violation of
         the ADA whose remedy is readily achievable.

Accessible Routes

      E. There is no accessible route to enter building due to curbs and concrete parking
         barrier in violation of the ADA whose remedy is readily achievable.

Restrooms

      F. There is insufficient clear floor space in the toilet compartment in violation of the
         ADA whose remedy is readily achievable.

      G. There are missing or non-compliant grab bars in the toilet compartment in violation
         of the ADA whose remedy is readily achievable.
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       H. There is door hardware that require tight clasping or twisting in violation of the ADA
          whose remedy is readily achievable.

       I. There is no pipe insulation to protect for scalding or burning in violation of the ADA
          whose remedy is readily achievable.

       J. The mirror is mounted in excess of allowable height in violation of the ADA whose
          remedy is readily achievable.

       K. Dispensers are mounted in excess of allowable reach range in violation of the ADA
          whose remedy is readily achievable.

       L. Objects are located that impair use of amenities and clear floor space in violation of
          the ADA whose remedy is readily achievable.

       M. Toilet unit flush control is not situated on open side of toilet in violation of the ADA
          whose remedy is readily achievable.

       N. The height of toilet from the finished floor to rim of seat is below required standards
          in violation of the ADA whose remedy is readily achievable.

Policies and Procedures

       O. The operator lacks or has inadequate defined policies and procedures for the
          assistance of disabled patrons.

12.   The discriminatory violations described in paragraph 11 are not an exclusive list of the

       Defendant’s ADA violations. Plaintiff requires the inspection of the Defendant’s place of

       public accommodation in order to photograph and measure all of the discriminatory acts

       violating the ADA and all of the barriers to access. The Plaintiff, has been denied access

       to, and has been denied the benefits of services, programs and activities of the

       Defendant’s buildings and its facilities, and have otherwise been discriminated against

       and damaged by the Defendant because of the Defendant’s ADA violations, as set forth

       above. The individual Plaintiff, and all others similarly situated will continue to suffer

       such discrimination, injury and damage without the immediate relief provided by the

       ADA as requested herein. In order to remedy this discriminatory situation, the Plaintiff
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        requires an inspection of the Defendant’s place of public accommodation in order to

        determine all of the areas of non-compliance with the Americans with Disabilities Act.


                                 COUNT I
              VIOLATION OF THE AMERICANS WITH DISABILITES ACT

13.     Plaintiff restates the allegations of ¶¶1-12 as if fully rewritten here.

14.      ARBY’S, and the businesses therein, are public accommodations and service

establishments, and as such must be, but are not, in compliance with the Americans with

Disabilities Act ("ADA") and Americans with Disabilities Act Accessibility Guidelines

("ADAAG").

15.      Plaintiff was unlawfully denied full and equal enjoyment of the goods, services, facilities,

privileges, and advantages of the property and the businesses therein on the basis of his

disability, due to Defendant’s property failing to be in compliance with Title III of the Americans

with Disabilities Act and its accompanying regulations, as prohibited by 42 U.S.C. § 12182, et

seq., and will continue to discriminate against Plaintiff and others with disabilities unless and

until Defendant is compelled to remove all physical barriers that exist at the facility, including

those specifically set forth herein, and make the facility accessible to and usable by persons with

disabilities, including Plaintiff.

16.     The Plaintiff, and others similarly-situated, are without adequate remedy at law and are

suffering irreparable harm, and reasonably anticipate that they will continue to suffer irreparable

harm unless and until Defendant is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facility, including those set forth herein.

17.     Pursuant to 42 U.S.C. §12187, Plaintiff requests that the Court issue an injunction

requiring Defendant to make such readily achievable alterations as are legally required to

provide full and equal enjoyment of the goods, services, facilities, privileges, and advantages on
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its property to disabled persons. In connection with that relief, Plaintiff requests reasonable

attorney’s fees and costs of maintaining this action.

                             COUNT II
 VIOLATION OF MICHIGAN PERSONS WITH DISABILITIES CIVIL RIGHTS ACT
                        M.C.L. § 37.1301 et seq.

18. Plaintiff restates the allegations of ¶¶1 - 1 7 as if fully rewritten here.

19. ARBY’S, and the businesses therein, are "place[s] of public accommodation"

        pursuant to M.C.L §37.1301(a).

20. Defendant committed an unlawful act pursuant to M.C.L §37.1302(a) by denying Plaintiff

        full enjoyment of its goods, services, accommodations, advantages, facilities, or privileges.

21. Pursuant to M.C.L §37.1606, Plaintiff is entitled to compensatory and exemplary damages,

        and attorneys fees and costs, in an amount to be determined at trial, but in any event not less

        than $25,000.00, as well as issuance of an injunction requiring Defendant to allow full and

        equal enjoyment of its goods, services, facilities, privileges, and advantages to disabled persons.

WHEREFORE, Plaintiff demands,

        for Count I, an injunction requiring Defendant to make all readily achievable alterations

to allow full and equal enjoyment of the goods, services, facilities, privileges, and advantages

to disabled persons, and the reasonable attorneys fees and costs of maintaining this action; and,

        for Count II, compensatory and exemplary damages, and attorneys fees and costs, in an

amount to be determined at trial, but in any event not less than $25,000.00, as well as

issuance of an injunction requiring Defendant to allow full and equal enjoyment of the

goods, services, facilities, privileges, and advantages to disabled persons.

                                                 Respectfully Submitted,

                                                 Counsel for Plaintiff:
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                                 \s\ Owen B Dunn Jr -- dated: December 10, 2014
                                 Owen B. Dunn, Jr., Esq. MI Bar Number P66315
                                 Law Office of Owen B. Dunn, Jr.
                                 The Ottawa Hills Shopping Center
                                 4334 W. Central Ave., Suite 222
                                 Toledo, OH 43615
                                 (419) 241-9661 – Phone
                                 (419) 241-9737 - Facsimile
                                 dunnlawoffice@sbcglobal.net
